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  8
                            UNITED STATES DISTRICT COURT
  9
                         SOUTHERN DISTRICT OF CALIFORNIA
 10

 11   MATTHEW JONES; THOMAS FURRH; Case No.: 3:19-cv-01226-L-AHG
 12   KYLE YAMAMOTO; PWGG, L.P. (d.b.a.
                                        Hon. M. James Lorenz and Magistrate
      POWAY WEAPONS AND GEAR and
 13                                     Judge Allison H. Goddard
      PWG RANGE); NORTH COUNTY
 14   SHOOTING CENTER, INC.; BEEBE
      FAMILY ARMS AND MUNITIONS LLC
 15   (d.b.a. BFAM and BEEBE FAMILY     PLAINTIFFS’ NOTICE OF
 16   ARMS AND MUNITIONS); FIREARMS MOTION AND MOTION FOR
      POLICY COALITION, INC.; FIREARMS PRELIMINARY INJUNCTION
 17   POLICY FOUNDATION; THE CAL GUN
 18   RIGHTS FOUNDATION (formerly, THE
      CALGUNS FOUNDATION); and
 19   SECOND AMENDMENT                  Complaint Filed: July 1, 2019
 20   FOUNDATION,                       Amended Complaint Filed: July 30, 2019

 21
                                         Plaintiffs,

 22
      v.
                                                        Date: November 18, 2019
 23
      XAVIER BECERRA, in his official                   Time: 9:00 a.m.
      capacity as Attorney General of the               Department: 5B (5th Flr.)
 24   State of California, et al.,
 25                                     Defendants
 26

 27

 28
                                                    2
                                        PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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  1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
  2
      RECORD: Notice is hereby given that on November 18, 2019, at 9:00 a.m. in
  3

  4   Courtroom 5B (5th Flr.) of the above-captioned Court, located at 221 W.

  5   Broadway, San Diego, California 92101, Plaintiffs will move for preliminary
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      injunction under Rule 65(a) of the Federal Rules of Civil Procedure. Specifically,
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  8   Plaintiffs will seek an order enjoining Defendant Attorney General Xavier Becerra

  9   and his agents, servant, employees, and those working in active concert with him,
 10
      from enforcing or giving effect to California Penal Code, § 25710 during the
 11

 12   pendency of this action.

 13         Plaintiffs bring this motion on the grounds that California Penal Code §
 14
      27510 constitutes an absolute under-21 firearm ban applicable to all ordinary law-
 15

 16   abiding Young Adults (18-20-years-old) in violation of the Second Amendment of
 17   the U.S. Constitution.     The criminalization of Young Adult’s acquisition and
 18
      possession of any firearm infringes on the Second Amendment’s core right of self-
 19

 20   defense; and the so-called “exemptions” are inapplicable and illusory to ordinary
 21   law-abiding Young Adults.
 22
            The motion is based on this notice of motion and motion, the memorandum
 23

 24   of points and authorities filed concurrently with this motion, and the supporting
 25   and concurrently filed Declarations of Matthew Jones, Thomas Furrh, Kyle
 26
      Yamamoto, Matthew Beebe, John Phillips, Darin Prince, Anthony Williams, Alan
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 28   Gottlieb, Brandon Combs, John Lott, Thomas Marvell, David Bogan, David
                                                  3
                                      PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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       Hardy, and John Dillon, as well as any exhibits attached hereto. This motion is
   2
       also based on the First Amended Complaint, pleadings, and records already on file,
   3

   4   and on any further matters the Comi deems appropriate at or before the time of the

   5   hearing.
   6
       October 4, 2019                        Respectfully submitted,
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   8                                          Gatzke, Dillon & Ballance LLP

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